                                       Case 5:20-cv-02164-GW-KK Document 133 Filed 01/17/23 Page 1 of 5 Page ID #:9160



                                           1   Dina Glucksman, State Bar. No. 245646
                                               dglucksman@grsm.com
                                           2   (949) 255-6968
                                               Scott L. Schmookler (Pro Hac Vice)
                                           3   sschmookler@grsm.com
                                               (312) 980-6779
                                           4   Gordon Rees Scully Mansukhani, LLP
                                               633 West Fifth Street, 52nd Floor
                                           5
                                               Los Angeles, CA 90071
                                           6   Attorneys for Defendant,
                                               NATIONAL UNION FIRE INSURANCE
                                           7   COMPANY OF PITTSBURGH, PA
                                           8                        UNITED STATES DISTRICT COURT
                                           9         CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
                                          10
                                          11   WESTERN RIVERSIDE                      )
                                               COUNCIL OF GOVERNMENTS,                )
Gordon Rees Scully Mansukhani, LLP




                                          12   a California Joint Powers Authority;   )
   633 West Fifth Street, 52nd Floor




                                               CITY OF BEAUMONT, a public             )
                                          13   entity in the State of California,     ) CASE NO. 5:20-cv-02164-GW (KKx)
       Los Angeles, CA 90071




                                                                                      )
                                          14               Plaintiffs,                ) JOINT STATUS REPORT
                                                                                      )
                                          15         v.                               )
                                                                                      ) Judge: Honorable George H. Wu
                                          16   NATIONAL UNION FIRE                    )
                                               INSURANCE COMPANY OF                   )
                                          17   PITTSBURGH, PA. and DOES 1             )
                                               through 50, inclusive,                 )
                                          18                                          )
                                                           Defendant(s).              )
                                          19                                          )
                                          20
                                          21         Pursuant to the Order issued on December 8, 2022, ECF No. 131, Plaintiffs
                                          22   Western Riverside Council of Governments and City of Beaumont (collectively,
                                          23   “Plaintiffs”) and Defendant National Union Fire Insurance Company of
                                          24   Pittsburgh, Pa. (“National Union” or “ Defendant”) hereby submit this Joint Status
                                          25   Report as follows:
                                          26         1.   The Parties advised the court of their settlement in principle on
                                          27   October 20, 2022 (ECF No. 127).
                                          28
                                                                                      -1-
                                                                                                     5:20-CV-02164-GW (KKX)
                                                                                                      JOINT STATUS REPORT
                                       Case 5:20-cv-02164-GW-KK Document 133 Filed 01/17/23 Page 2 of 5 Page ID #:9161



                                           1         2.      On October 28, 2022 counsel for National Union sent counsel for
                                           2   Plaintiffs a draft settlement agreement. Since then, the parties have exchanged
                                           3   drafts and redlined agreements and have continued their efforts to reach an
                                           4   agreement on certain language and provisions.
                                           5         3.      On December 8, 2022, the parties filed their Joint Status Report
                                           6   requesting an additional 30 days to continue drafting the settlement agreement.
                                           7   (Dkt. 130.)
                                           8         4.      On December 21, 2022, counsel for Plaintiffs sent a redlined version
                                           9   of National Union’s proposed settlement agreement.
                                          10         5.      On January 11, 2022, the parties conferred regarding reconciling their
                                          11   respective versions of the settlement agreement.
Gordon Rees Scully Mansukhani, LLP




                                          12         6.      The parties continue to confer regarding modifications to the
   633 West Fifth Street, 52nd Floor




                                          13   settlement agreement.
       Los Angeles, CA 90071




                                          14         7.      The Parties need an additional thirty (30) days to address the issues
                                          15   that have arisen during drafting of the settlement agreement in order to finalize the
                                          16   agreement and to file a dismissal.
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28
                                                                                        -2-
                                                                                                       5:20-CV-02164-GW (KKX)
                                                                                                        JOINT STATUS REPORT
                                       Case 5:20-cv-02164-GW-KK Document 133 Filed 01/17/23 Page 3 of 5 Page ID #:9162



                                           1   Dated: January 17, 2023                  BEST BEST & KRIEGER LLP
                                           2
                                           3
                                                                                        By: /s/ Christopher E. Deal
                                           4                                               JEFFREY V. DUNN
                                                                                           CHRISTOPHER E. DEAL
                                           5
                                                                                           ARYAN VAHEDY
                                           6
                                           7                                               Attorneys for Plaintiffs
                                                                                           Western Riverside Council of
                                           8                                               Governments and the City of
                                           9                                               Beaumont

                                          10   Dated: January 17, 2023                  GORDON REES SCULLY
                                          11                                            MANSUKHANI LLP
Gordon Rees Scully Mansukhani, LLP




                                          12
   633 West Fifth Street, 52nd Floor




                                          13                                            By: /s/ Scott L. Schmookler
       Los Angeles, CA 90071




                                                                                           DINA GLUCKSMAN
                                          14
                                                                                           SCOTT L. SCHMOOKLER
                                          15                                               MEAGAN VANDERWEELE
                                                                                           ANGELA LEWOSZ
                                          16
                                          17                                               Attorneys for Defendant
                                                                                           National Union Fire Insurance
                                          18
                                                                                           Company of Pittsburgh, Pa.
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28
                                                                                  -3-
                                                                                                  5:20-CV-02164-GW (KKX)
                                                                                                   JOINT STATUS REPORT
                                       Case 5:20-cv-02164-GW-KK Document 133 Filed 01/17/23 Page 4 of 5 Page ID #:9163



                                           1                           SIGNATURE ATTESTATION
                                           2
                                                    Pursuant to Local Rule 5-4.3.4, I hereby attest that all signatories listed
                                           3
                                               above, on whose behalf this stipulation is submitted, concur in the filing’s content
                                           4
                                               and have authorized the filing.
                                           5
                                           6   Dated: January 17, 2023                    GORDON REES SCULLY
                                           7                                              MANSUKHANI LLP

                                           8
                                           9                                              By: /s/ Scott L. Schmookler
                                                                                             DINA GLUCKSMAN
                                          10                                                 SCOTT L. SCHMOOKLER
                                          11                                                 MEAGAN VANDERWEELE
                                                                                             ANGELA LEWOSZ
Gordon Rees Scully Mansukhani, LLP




                                          12
   633 West Fifth Street, 52nd Floor




                                          13                                                  Attorneys for Defendant
       Los Angeles, CA 90071




                                                                                              National Union Fire Insurance
                                          14                                                  Company of Pittsburgh, Pa.
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28
                                                                                       -4-
                                                                                                      5:20-CV-02164-GW (KKX)
                                                                                                       JOINT STATUS REPORT
                                       Case 5:20-cv-02164-GW-KK Document 133 Filed 01/17/23 Page 5 of 5 Page ID #:9164



                                           1                            CERTIFICATE OF SERVICE
                                           2        The undersigned hereby certifies that on January 17, 2023, a true and correct
                                           3   copy of the foregoing Joint Status Report was electronically filed with the Clerk
                                           4   of Court using the CM/ECF system, which will automatically send e-mail
                                           5   notification of such filing to all attorneys of record.
                                           6
                                                                                               GORDON REES SCULLY
                                           7                                                   MANSUKHANI LLP
                                           8
                                                                                        By: /s/ Scott L. Schmookler
                                           9                                               DINA GLUCKSMAN
                                          10                                               SCOTT L. SCHMOOKLER
                                                                                           MEAGAN VANDERWEELE
                                          11                                               ANGELA LEWOSZ
Gordon Rees Scully Mansukhani, LLP




                                          12
   633 West Fifth Street, 52nd Floor




                                                                                               Attorneys for Defendant
                                          13
       Los Angeles, CA 90071




                                                                                               National Union Fire Insurance
                                          14                                                   Company of Pittsburgh, Pa.
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28
      1220599/70073332v.1
                                                                                         -5-
                                                                                                         5:20-CV-02164-GW (KKX)
                                                                                                          JOINT STATUS REPORT
